           2:17-cr-20037-JES-JEH # 406   Page 1 of 3                                  E-FILED
                                                           Tuesday, 25 June, 2019 10:08:55 AM
                                                                 Clerk, U.S. District Court, ILCD




s/ Juror                                 s/ Juror

s/ Juror                                  s/ Juror

s/ Juror
                                         s/ Juror

s/ Juror                                  s/ Juror

s/ Juror                                 s/ Juror

s/ Juror                                   s/ Foreperson
           2:17-cr-20037-JES-JEH # 406    Page 2 of 3




s/ Juror                                 s/ Juror

s/ Juror                                 s/ Juror

s/ Juror                                 s/ Juror

s/ Juror                                 s/ Juror

s/ Juror                                 s/ Juror

s/ Juror                                 s/ Foreperson
           2:17-cr-20037-JES-JEH # 406   Page 3 of 3




s/ Juror                                 s/ Juror

s/ Juror                                 s/ Juror

s/ Juror                                 s/ Juror

s/ Juror                                 s/ Juror

s/ Juror                                 s/ Juror

s/ Juror                                 s/ Foreperson
